Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 1 of 17




          EXHIBIT 1
          Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 2 of 17




Fred August Nehr, Esquire
fnehr@nehrlaw.com
Identifioation No.: 91676
NEHRLAWLLC
213 West Miner Street                              Attomey for De Lage Landen Financial
West Choster, PA 193 82                            Services, Ino.
(610) 441-9300

  IN THE COURT OF COMMON PLEAS OF CHESTER COUNTY, PENNSYLVANIA

DE LAGE LANDEN FINANCIAL SERVICES,
INC.,
I 1 1 1 Old Eagle School Road
Wayne, PA 19087
                 Plaintiff,


UNITED STATIONS RADIO NETWORKS, INC.
485 Madison Avenue, 3rd Floor
New York, NY 10022
               Defendant.

                                    NOTICE TO DEFEND
                 .                       NOTICE

YOU IIAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this complaint and notice are
served, by eniering a written appearance personally or by an attomey and filing in writing with
the court your definses or objeotions to the claims set forth against you. You are wamed that if
you fail to do so the case may proceed without you and ajudgment may be entered against you
ty the court without further nolice for any money claimed in the complaint or for any other claim
oi reliefrequested by the Plaintiff. You may lose money or property or other rights important
to you.
YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE TIIE OFFICE SET FORTH BELOW. THIS
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUTHIRINGALAWYER.


IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAI
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.




                                                           2027- 08937 -Cr
       Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 3 of 17




                          Lawyer Referral and Information Service
                             Chester County Bar Association
                                   15 West Gay Street
                                 West Chester, PA 19380
                                         610-429-1500




                                 AVISO PARA DEFENDER
                                        AVISO

USTED HA SIDO DEMANDADO/A EN LA                 CORTE. Si usted desea defender conta la
demanda puestas en las siguientes p6ginas, usted tienen que tomar acci6n dentro veinte (20) dias
despuds que esta Demanda y Aviso es servido, con entrando por escrito una aparencia
personalmente o por un abogado y archivando por escrito con la Corte sus defensas o objeciones
a las demandas puestas en esta contra usted. Usted es advertido que si falla de hacerlo el caso
puede proceder sin usted y un jazgamiento puede ser entrado contra usted por la Corte sin m6s
aviso por cualquier dinero reclamado en la Demanda o por cualquier otro reclamo o alivio
solicitado por Demandante. Usted puede perder dinero o propiedad o otros derechos importante
para usted,
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                          Lawyer Referral and Information Service
                             Chester County Bar Association
                                   15 West Gay Street
                                 West Chester, PA 19380
                                         610-429-1500




                                                          2027-08937 -Cr
       Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 4 of 17



                                                                                    Ft7
Fred August Nehr, Esquire
fnehr@nehrlaw.com
Identification No.: 91676
NEHRLAWLLC
213 West Miner Street                                 Attorney for De Lage Landen Financial
West Chester, PA 19382                                Services, Inc.
(610) 441-e3oo

  IN THE COURT OF COMMON PLEAS OF CHESTER COUNTY" PENNSYLVANIA

DB LAGE LANDEN FINANCIAL SERVICES,                            Civil Action
INC.,
1 1 11 Old Eagle School Road

Wayne, PA 19087                                              No.:
                Plaintiff,


UNITED STATIONS RADIO NETWORKS, INC.
485 Madison Avenue, 3rd Floor
New York, NY 10022
                Defendant.

                                CIVIL ACTION - COMPLAINT

         Plaintiff; De Lage Landen Financial Services, Inc. by and tfuough its attomeys Nehr Law

LLC files the within Complaint against defendant United Stations Radio Networks, Inc. and in

support thereof avers the lollowing:

                                            The Parties

         1.     Plaintiff, De Lage Landen Financial Services, Inc. (hereafter relerred to   as


"DLL"), is in the equipment leasing    and finance business maintaining an address at 11    1   I Old

Eagle School Road, Wayne, Pennsylvania 19087.

         2.     Defendant, United Stations Radio Networks, Inc. (hereafter referred to as

"Radio") is upon information and belief, a corporation existing under the laws ofthe State of

New York with a last known address located at 485 Madison Avenue, 3rd Floor, New York, NY

t0022.




                                                             2027-08937 -CT
        Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 5 of 17




                                         COUNT I
                                     Breach of Contract
                                   Aereement 500-500I 2598

        3.     Plaintiff incorporates by reference all paragraphs   as though   fully   set forth herein


al Iength.

        4,     On or about August 28, 2019 Radio executed and entered into a Lease Agreement

#500-50012598 (hereafter "Agreement") with DLL for equipment more fully described therein.

A true and conect copy ofthe Agreement is attached hereto as Exhibit "A".

        5.     Pursuant to the Agreement, Radio was obligated to make forty-eight (48)

consecutive monthly lease payments to plaintiff in the amount of two thousand eighty-seven

dollars and zero cents ($2,087.00) each in addition to applicable fees for the equipment subject

of the Agreement.

        6.     Defendant has defaulted under the terms ofthe Agreement for among other

reasons, failing to make the required monthly payments.

        7.     Defendant's default has resulted in the total amount due under the Agreement to

be accelerated and the amounts owed by the defendant to    DLL under the terms and conditions of

the Asreement are calculated as follows:




                                                             2027-08937-CT
         Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 6 of 17




Past Due   Payments                                    $           7,2'l3.Il      (4)

Late   Charges                                             $       469.64

Insurance                                                  $       148.24

Other                                                      $       30.49

Remaining Payments     *   Residual (Disc   3%)            $       51,389'63       (26+6,054.12)

Default Interest at   18o%                                 g       4,562.89        (As ot   ll/4/21)

Attorney's    Fees                                         $       TBD

Filing   Fees                                              $       203.75

TOTAL DUE TO          PLAINTIFF                            $       64.077.75 +   Attvs'   Fees   & Interest

         8.      Pursuant to the Agreement, defendant is responsible to pay all costs incuned by

plaintiff in connection with the enforcement ofthe terms ofthe Agreement including reasonable

collection costs. default interest at the annual rate of   180%   and reasonable attorneys'      fees.   (See


Exhibit "A").

         9.      Despite frequent demands, defendant refuses to pay plaintiff.

         10.     Pursuant to a forum selection clause in the Agreement, Radio acknowledged and

consented to personal jurisdiction in Pennsylvania. waived trial        byjury with   respect to any


provision ofthe Agreement and plaintiff is domiciled in chester county, Pennsylvania.

         11.     In the Agreement, Radio acknowledged, among other things, that plaintiff had

made no representations nor warranties, express or implied, including wananties             of

merchantability and fitness for a particular purpose, in connection with the Agreement.

           12.   Defendant Radio's default of the Agreement by its failure to make monthly

payments constitutes a breach ofthe Agreement.




                                                                    2027-08937-CT
        Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 7 of 17




 '     WHEREFORE, plaintiff, De Lage Landen Financial Services, Inc. demands judgment

against defendant United Stations Radio Nefivorks, Inc. in the total amount of sixty-four

thousand seventy-seven dollars and seventy-five oents ($64,077.75) together with default interest

continuing to accrue at the annual rate of 1802, reasonable attomeys' fees and such other relief as

this Court deems just and proper.

                                            COUNT    II
                             In the Alternative. Uniust Enrichment

        13.    Plaintiff incorporates by reference all paragraphs as though fully   set forth herein


at length.

        14.    By virtue of defendant having received and accepted the equipment subject ofthe

Agreements, a benefit has been conferred upon defendant.

        15.    Defendant upon receipt of such equipment has appreciated such benefits

conferred.

         16.   Upon being provided with such equipment, defendant has accepted and retained

such equipment and the benefits of possession and use of such equipment'

         17.    Defendant has not paid the fair value ofsuch equipment'

         18.    Under the circumstances present, it would be inequitable for defendant to retain

the benefits conferred without fair payment ofthe value received.

         19.    DLL   seeks the recovery of the outstanding balance due in the amount    of sixty-

 four thousand seventy-seven dollars and seventy-five cents ($64,077.75) due under the doctrine

 of unjust enrichment.




                                                             2027-08937-CT
          Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 8 of 17




          WI{EREFORE, plaintiff, De Lage Landen Financial Services, Inc. demands judgment

against defendant United Stations Radio Networks, Inc. in the total amount of sixty-four

thousand seventy-seven dollars and seventy-five cents ($64,077.75l together with default interest

continuing to accrue at the annual rate of 18%, reasonable attorneys' fees and such other reliefas

this Court deems just and proper.

                                             COUNT III
                                In the Alternative. On Account Stated

          20.    Plaintiff incorporates by reference all paragraphs as though fully   set forth herein at


length.

          21.     Plaintiff maintained an accurate and running record ofall debits and credits

regarding the payments made by Radio in plaintiffls books of account.

          22.     Plaintiff ananged for the mailing to Radio a written statement eaeh month which

accurately stated the debits and credits to Radio's account for the prior billing period'

          23.     Defendant received the monthly statements from plaintiff without protest, dispute,

or objection.

          24.     Defendant in not protesting, disputing or objecting to the statements thereby

assented and agreed to the correctness of the balance due on the account so as to constitute an

account stated.

          25.     The amount due to Plaintiffon the account stated, less credits,   ifany   issued since


the instant   filing is sixty-four thousand seventy-seven dollars   and seventy-five cents ($64,077.75).




                                                                2027-08937-Cv
        Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 9 of 17




       WIIEREFORE, plaintiff, De Lage Landen Financial Servioes, Inc. demands judgment

against defendant United Stations Radio Networks, Ino. in the total amount of sixty-four

thousand seventy-seven dollars and seventy-frve cents ($64,077.75) together with default interest

continuing to accrue at the annual rate of   18ol0, reasonable   attomeys' fees and such other reliefas

this Court deems just and proper.




                                                                 NEHRLAWLLC

                                                                 /s/ Fred August Nehr

                                                        By:
                                                          Fred August Nehr, Esquire
                                                          Attomey for Plaintiff, De Lage Landen
DaIe: ll/4/21                                             Financial Services, Inc.




                                                                  2021-08937-CT
        Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 10 of 17




                                          VERIFICATION

        I, Joseph Paneghollo, hereby certify that I am an authorized representative ofDe Lage

Landen Financial Sorvices, Inc., the plaintiff in the foregoing   matter' As    such,   I am authorized

to make this verification on its   behalf. I verify   that I have read the foregoing pleading and that

the averments of lact contained thereon are true and correct to the best of my knowledge,

information and   belief. I further certify that I have personal knowledge ofthe facts in the

foregoing pleading.

        I acknowledge and understand that the statements herein contained are subject to the

penalties of 18 Pa.C.S. $4904 relating to unswom falsification to authorities.




                                                         n lz4ttw r LuvlJ@
                                                         Joseph Paneghello

Date:

(DLL v. United Stations Radio Networks, Inc')




                                                                  2027-08937-CT
Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 11 of 17




                    EXHIBIT A
                                        2027-08937-CT
      Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 12 of 17

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                 Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 14 of 17
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                           Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 15 of 17



                         Supreme Court of Pennsylvania
                                Court of Common Pleas
                                      Civil Cover Sheet
                                     CHESTER Countv
                The informqtion collected on this form is used solely          for court qdministration purposes.                This   form does not supplement
                or replace theJiling and senice olpleadings or other papers as required by law or tules ofcourt.
            Commencement of Action

 s          /        Complaint                      _ writ of Summons                           _    Petition

 E                   Transfer from Another       Jurisdiction                                        Declaration ofTaking

  c         Lead Plaintiffs Name:                                                               Lead Defendant's Name:

ir..
  T.            DE LAGE LANDEN FINANCIAL SERVICES, INC,                                             UNITED STATIONS RADIO NETWORKS, INC.
i     ::.
I l.Ir' Are money damages requested?                      / Yes           No                    Dollar Amount           Requested: _ Within arbitration             limits

:oo                                                                                                             one)
                                                                                                             (check     y'                       outside arbitration limits

,N
 N.         Is this a Class Action            Suit? Yes /            No                         Is this an MDJ Appeal? Yes                              No

            Narne of PtaintifflAppellant's Attomey; Fred Nohr
rA
 A                                             Check here ifyou have no attorney(are a Self-Represented [Pro Se] Litigant)
            -..:
                 Nstur€ ofthe        Ca!e:     Place "X'r td the lefi ofthe ONE case category that most taalrately describes yourPXLlL4.RYC'ISB'

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            TORT(do not include Mass Tort)                         CONTRACTf /o           no   ! incl ude J udgm   e n ts   )   CIVIL APPEALS
                       Intentional                                        Buyer     Plajntiff                                    Administmtive Agencies
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                 _     Malicious Prosecution
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                       Motor Vehicle                                 y'   Debr Collectionr Olher                                 _      Board ofElections
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                       Nuisance                                      -    Employnent Disputel                                    _      Dept. ofTransportation
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 o          MASS TORT                                              REAL PROPERTY                                                NlISCELLANEOUS
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 N               _     Asbestos                                       _   Ejectrnent                                             _
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                 _     Toxic Tort - DES                               _   Ground Rent                                            _
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                  Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 16 of 17

         Chester County
  Court of Common Pleas                       DocketNo:

              Cover Sheet                                          2021.08937-CT
Plaintiff(s) : (Name, Address)                                              Plaintiff s/Appellant's Attorney(circle one)
     DE LAGE LANDEN FINANCIAL SERVICES. INC,                                (Name, firm, address, telephone and attomey ID#)

    111,I OLD EAGLE SCHOOL          ROAD WAYNE, PA             19087                                            Fred Nehr
                                                                                   (610) 441-9300 NEHR LAW LLC attorney lD#: 091676
                                                                                        213 WEST MINER ST West Chester, PA 19382

Defendant(s) : (Name, Address)                                              Are there any related cases? Please provide case nos.
       UNITED STATIONS R,ADIO NETWORKS, INC.
 485 MADISON AVENUE 3RD FLOOR NEWYORK. NY 10022

  Defeldants who are proceeding without counsel are strongly urged to lile with the Prothonotary a written statement of an
                                   address AND a telephone number at which they can be reached

Commencement of Action (if applicable):           *    Agreement for an Amicable Action         _     Motion to Confirm Arbitratior Awaf,d
                                                                   Notice ofADpeal
   If this   is an appeal ftom a Magistedal    Dist ct Judgement,     was   appellaDt   _    Plaintiff   or          Defendant in the original action?
                                                                                                                -
                                                      Jury Trial   Demanded Yes y'               No
                          Nature ofcase ifnot on previous cover sheet - Please choose the most applicable
   Annulment                                                                     Writ of Certiorari

    custody - Conciliation Required                                              lnjunctive Relief

    Custody - Forelgn Order                                                      Mechanlcs Lien Claim

    Custody - No Conciliation Required                                           lssuance of Foreign Subpoena

    Divorce - Ancillary Relief Request                                           Name Change

    Divorce - No Ancillary Relief Requested                                      Petition for Structured Settlement

    Foreign Divorce

    Foreign Protection trom Abuse

    Paternity

    Protection from Abuse

    Standby Guardianship

Arbitration Cases Only                                                       Notice of Trial Listing Date
                                                                             Pursuant to C.C.R.C.P. 249.3, ifthis case is oot subject to
 Arbitation Date                     lgi!8!!                                 compulsory arbinalion it will be presumed ready for trial twelve
                                                                             ( l2)honrhs ftom rbe date of the iDitiatioD of the suit and will be
 Arbitration Time                    hh:mm:ss
                                                                             placed on the   rial   list one   (l)   year from the date the suit was
Defendants are cautioned that the scheduling of an arbitration               filled unless otherwise ordered by tbe Coun.
date does rot alter the dufy ofthe defendant to respond to the
complaint and does not prevent summary disposition form
occurring prior to the arbifation date.
This matter will be heard by a Board of Arbitators at the time               To obtain relieffrom automatic trial listing a party must prcceed
and date specified but, if one or more ofthe parties is not present          pursuant to C.C.R.C.P. 249.3O), request an administntive
at the hearing, the matter may be heard at the same time and date            ionference and obtain a coud order deferring the placement of
before ajudge of the cout without the absent pady or parties.                the case on the trial list until a later date.
There is no right to a ttial de novo ot appeal from a decision
entered by a judge.

    File with:    Chester County Justice Center, Prcthonotary Office, 201 W. Market St., Ste. l425,PO Box2746,W€st Chester, PA 19380-0989


                                                                                          2027-08937-Cr
Case 2:21-cv-05606-JS Document 1-1 Filed 12/23/21 Page 17 of 17

  These cover sheets must be seffed upon all other parties to the action immediately after filing.

                                Submit enough copies for service.




                                                               2021.-08937 -CT
